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 8
 9                       UNITED STATES DISTRICT COURT

10                              DISTRICT OF NEVADA

11
     UNITED STATES OF AMERICA,                  Case No. 2:04-cr-00262-JCM-PAL
12
                 Plaintiff,                     Supplement to Reply in Support
13                                                       of Emergency
           v.
14                                                 Motion for Order Reducing
     DAVID KENT FITCH,                          Sentence or Modifying Judgment
15                                              under 18 U.S.C. § 3582 (C)(1)(A)(I)
                 Defendant.                     and Authorizing Any Remaining
16
                                                  Portion of His Sentence to be
17                                               Served on Home Confinement

18                                                (Expedited Ruling Requested
19                                                            Due
                                                     to COVID-19 Pandemic)
20
21         Mr. Fitch requests leave to file this supplement based on newly discovered
22   information that may materially impact this Court’s decision whether to grant
23   compassionate release.
24         On June 17, 2020, undersigned counsel learned from the BOP website that
25   one person is now positive for COVID-19 at Greenville FCI, where Mr. Fitch
26
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 1   lives. 1 To date, only 37 people living in that facility have been tested for the
 2   virus and 16 of those tests remain pending.
 3
 4
 5
 6
 7         As COVID-19 has officially penetrated the prison’s walls, Mr. Fitch’s
 8   likelihood of contracting it has undoubtably increased.
 9
10
                                DATED this 17th of June, 2020.
11
12
                                                  RENE L. VALLADARES
13                                                Federal Public Defender
14                                         By: /s/Margaret W. Lambrose
15                                                MARGARET W. LAMBROSE
                                                  Assistant Federal Public Defender
16                                                Attorney for David Kent Fitch

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           1   https://www.bop.gov/coronavirus/


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 1                   CERTIFICATE OF ELECTRONIC SERVICE

 2         The undersigned hereby certifies that she is an employee of the Federal
 3   Public Defender for the District of Nevada and is a person of such age and
 4   discretion as to be competent to serve papers.
 5         That on June 17, 2020, she served an electronic copy of the above and
 6   foregoing Supplement to Reply in Support of Emergency Motion for Order
 7   Reducing Sentence or Modifying Judgment under 18 U.S.C. § 3582
 8   (C)(1)(A)(I)and Authorizing Any Remaining Portion of His Sentence to be
 9   Served on Home Confinement(Expedited Ruling Requested Due to
10   COVID-19 Pandemic) by electronic service (ECF) to the person named below:
11
12                      NICHOLAS A. TRUTANICH
                        United States Attorney
13                      NANCY M. OLSON
                        Assistant United States Attorney
14                      501 Las Vegas Blvd. South
                        Suite 1100
15                      Las Vegas, NV 89101
16
                                               /s/ Marlene Mercado
17                                             Employee of the Federal Public
                                               Defender
18
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